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Re: [EXTERNAL] Re: Medical records inmate Aol/Sent 1
Santana 99877-479

Randall L. Kallinen <attorneykalline f=) ‘Fri, Sep 1 at 11:06 AM w
To: Allen, Sonja (BOP)

Dear Ms. Allen,

Good morning. As of today I have not received the medical
records in order to further evaluate Ms. Cerano's health and for
legal reasons. It is of the utmost importance that I receive the
records from December 1, 2022 to the present immediately to
evaluate her medical condition and for pressing legal reasons.

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012
Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Wednesday, August 9, 2023 at 08:05:23 AM CDT, Allen, Sonja
(BOP) <s2allen@bop.gov> wrote:

Please be advised I notified inmate Santana on July 20,
2023.

Mrs. S. Allen

Correctional Counselor: U1N P-Z & RDAP
Federal Bureau of Prisons

FMC Carswell

Ft. Worth, Tx 76127

From: Randall L. Kallinen <attorneykallinen@aol.com>

Sent: Tuesday, August 8, 2023 4:36 PM

To: Hernandez, Sara (BOP) <sihernandez@bop.gov>; Franco, Mary
(BOP) <mlfranco@bop.gov>; Allen, Sonja (BOP) <s2allen@bop.gov>
Subject: Re: [EXTERNAL] Re: Medical records inmate Santana 99877-
479

Dear Ms. Allen,
I have not received the medical records in order to further
evaluate Ms. Cerano's health and for legal reasons. It is of the

utmost importance that I receive the records from December 1,
2022 to the present by tomorrow.

Sincerely,

Randall L. Kallinen
KALLINEN LAW PLLC

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Telephone: 713/320-3785

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Email: attorneykallinen@aol.com

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On Friday, July 21, 2023 at 01:28:31 PM CDT, Randall L. Kallinen
<attorneykallinen@aol.com> wrote:

Dear Ms. Allen,

One last thing is that Ms. Cerano should have a Hipaa release
on file. Thank you and have a good day.

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012
Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Thursday, July 20, 2023 at 11:49:14 AM CDT, Allen, Sonja (BOP)
<s2allen@bop.gov> wrote:

Yes ma'am, as a onetime courtesy.

Mrs. S. Allen

Correctional Counselor: U1N P-Z & RDAP
Federal Bureau of Prisons

FMC Carswell

Ft. Worth, Tx 76127

From: Randall L. Kallinen <attorneykallinen@aol.com>

Sent: Thursday, July 20, 2023 10:09 AM

To: Hernandez, Sara (BOP) <sihernandez@bop.gov>; Franco, Mary
(BOP) <mlfranco@bop.gov>; Allen, Sonja (BOP) <s2allen@bop.gov>
Subject: Re: [EXTERNAL] Re: Medical records inmate Santana 99877-
479

Dear Ms. Allen,

Thank you. Can you inform her to request them from
December 1, 2022 to the present and then send them to me?
Thank you again.

Sincerely,

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Randall L. Kallinen

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511 Broadway Street

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Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Thursday, July 20, 2023 at 08:37:18 AM CDT, Allen, Sonja (BOP)
<s2allen@bop.gov> wrote:

Good morning,

The quickest way to obtain inmate Santana's medical
records is to have her send them to you. Due to HIPA
our involvement is very limited. Please let me know if I
can assist any further.

Mrs. S. Allen
Correctional Counselor: U1N P-Z & RDAP

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Federal Bureau of Prisons
FMC Carswell
Ft. Worth, Tx 76127

From: Hernandez, Sara (BOP) <sihernandez@bop.gov>

Sent: Thursday, July 20, 2023 8:25 AM

To: Allen, Sonja (BOP) <s2allen@bop.gov>; Franco, Mary (BOP)
<mlfranco@bop.gov>

Subject: Fw: [EXTERNAL] Re: Medical records inmate Santana 99877-
479

From: Randall L. Kallinen <attorneykallinen@aol.com>

Sent: Saturday, July 15, 2023 5:47 PM

To: Hernandez, Sara (BOP) <sihernandez@bop.gov>

Subject: Re: [EXTERNAL] Re: Medical records inmate Santana 99877-
479

Dear Ms. Hernandez,

I have not received any information or communication from the
new counselor or their name so Ms. Santana's or myself as her
lawyer could receive all her medical records since December 1,
2022. She needs them for an outside assessment of her health
and legal matters and she is in medical danger due to not
receiving them. Please respond immediately due to the urgency.
Thank you.

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012

Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Monday, June 26, 2023 at 01:59:07 PM CDT, Randall L. Kallinen
<attorneykallinen@aol.com> wrote:

Thank you!
Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012
Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Monday, June 26, 2023 at 01:57:06 PM CDT, Hernandez, Sara
(BOP) <sihernandez@bop.gov> wrote:

| am no longer her counselor. | will forward the message to her
new counselor.

From: Randall L. Kallinen <attorneykallinen@aol.com>

Sent: Monday, June 26, 2023 12:39 PM

To: Hernandez, Sara (BOP) <sihernandez@bop.gov>

Subject: [EXTERNAL] Re: Medical records inmate Santana 99877-479

Dear Ms. Hernandez,

I hope you have been doing well. It has been awhile since we
last spoke but I was under the impression that either Ms.
Santana or myself as her lawyer could receive all her medical
records since December 1, 2022. Is that correct? She needs
them for an outside assessment of her health and legal matters.
Thank you.

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012

Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Monday, April 24, 2023 at 08:37:47 AM CDT, Randall L. Kallinen
<attorneykallinen@aol.com> wrote:

Dear Ms. Hernandez,

Good morning. It was a pleasure speaking with you last week
and thank you for setting up the inmate phone call. As we
spoke you handle most matters of concern for Ms. Cerano at
the prison facility. As you know I am her lawyer on several
issues and I need her medical records so that I may engage
outside medical care professionals for health reasons and also
for legal reasons. Electronic form is the best as paper is
cumbersome for all. Ms. Cerano, and this law firm, will sign
any release necessary. Please let me know how I can assist in
this matter.

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012
Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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